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     Sacramento, California 95814
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 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                   ) Case No.: 2:11-cr-00296-01 WBS
10                                               )
                   Plaintiff,                    ) [PROPOSED] ORDER FOR
11                                               ) EXONERATING THE BOND
            vs.                                  )
12                                               )
     MOCTEZUMA TOVAR,                            )
13                                               )
                   Defendant.                    )
14                                               )
15
                         REQUEST TO EXONERATE THE BOND
16                    FOR THE W. WOODLAND AVENUE PROPERTY
17
            In August of 2011, Mr. Tovar’s father, Pablo Tovar, posted a property to satisfy
18
     the $100,000 secured bond. On September 30, 2019, Moctezuma Tovar was sentenced.
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     Therefore, it is hereby requested that the secured appearance bond be exonerated for the
20
     property at 74 W. Woodland Avenue in Woodland, California, 95695, and that the Clerk
21
     of the District Court be directed to re-convey the property back to the current owner.
22
     Since August of 2011, Pablo Tovar has deceased, and the property is now owned by
23
     Marisol Tovar. See Exhibit A. A request was submitted after sentencing and the Court
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     indicated the renewed request needed to be submitted after Mr. Tovar turned himself into
25
     custody on December 2, 2019. Mr. Tovar is now in the Bureau of Prisons and requests
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     the property bond be exonerated.
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 1   DATED: December 16, 2019                 Respectfully submitted,

 2                                            /s/ Thomas A. Johnson
                                              THOMAS A. JOHNSON
 3
                                              Attorney for Moctezuma Tovar
 4
 5
                                             ORDER
 6
 7
           IT IS HEREBY ORDERED that the appearance bond secured by a Deed of
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     Trust against the real property located at 74 W. Woodland Avenue in Woodland,
 9
     California, 95695, is hereby exonerated. The Clerk of the Court is directed to re-convey
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     the property back to the owner, Marisol Tovar, 2121 Natomas Crossing Drive Suite 200-
11
     274, Sacramento, CA 95834.
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           Dated: December 18, 2019
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